

Matter of Save Monroe Ave,, Inc. v New York State Dept. of Transp. (2022 NY Slip Op 05410)





Matter of Save Monroe Ave,, Inc. v New York State Dept. of Transp.


2022 NY Slip Op 05410


Decided on September 30, 2022


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on September 30, 2022
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., CENTRA, PERADOTTO, AND NEMOYER, JJ.


615 CA 21-01442

[*1]IN THE MATTER OF SAVE MONROE AVE,, INC., 2900 MONROE AVE., LLC, CLIFFORDS OF PITTSFORD, L.P., ELEXCO LAND SERVICES, INC., JULIA D. KOPP, MARK BOYLAN, ANNE BOYLAN AND STEVEN M. DEPERRIOR, PETITIONERS-APPELLANTS,
vNEW YORK STATE DEPARTMENT OF TRANSPORTATION, ET AL., RESPONDENTS, DANIELE MANAGEMENT, LLC, DANIELE SPC, LLC, MUCCA MUCCA, LLC, MARDANTH ENTERPRISES, INC., M &amp; F, LLC, THE DANIELE FAMILY COMPANIES, TOWN OF BRIGHTON AND TOWN BOARD OF TOWN OF BRIGHTON, RESPONDENTS-RESPONDENTS. (APPEAL NO. 8.) 






HODGSON RUSS LLP, BUFFALO (AARON M. SAYKIN OF COUNSEL), FOR PETITIONERS-APPELLANTS.
WOODS OVIATT GILMAN LLP, ROCHESTER (WARREN B. ROSENBAUM OF COUNSEL), FOR RESPONDENTS-RESPONDENTS DANIELE MANAGEMENT, LLC, DANIELE SPC, LLC,



	Appeal from an order of the Supreme Court, Monroe County (J. Scott Odorisi, J.), entered September 9, 2021. The order denied the motion of petitioners for a preliminary injunction. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs.
Same memorandum as in Matter of Brighton Grassroots, LLC v Town of Brighton Planning Bd. ([appeal No. 1] — AD3d — [Sept. 30, 2022] [4th Dept 2022]).
Entered: September 30, 2022
Ann Dillon Flynn
Clerk of the Court








